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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                       RACHEL CARD                                   )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 18CV63067-KMW
                                                                     )
             TRANSWORLD SYSTEMS, INC.                                )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TRANSWORLD SYSTEMS, INC.
                                           CT CORPORATION SYSTEM
                                           1200 S. PINE ISLAND ROAD
                                           PLANTATION, FL 33324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: The Law Offices of Jibrael S. Hindi, PLLC. 110 SE 6th St., Suite 1744, Fort
                                           Lauderdale, FL 33301. Phone: (844)542-7235 Email: jibrael@jibraellaw.com Fax:
                                           (855)529-9540




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:      Dec 15, 2018
                                                                                         Signature of Clerk or Deputy Clerk


                                                                                                            s/ Mary Etienne
